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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA )
                         )
     v.                  )                 Criminal No. 22cr10141
                                                        _________
                         )
SEAN O’DONOVAN,          )
                         )
          Defendant      )

                 GOVERNMENT’S MOTION TO SEAL/UNSEAL INDICTMENT

          The United States, through undersigned counsel, hereby respectfully moves the Court to

seal the Indictment, this motion and the Court’s order on this motion, and any other paperwork

related to this matter, and that no person shall disclose the return of the indictment except when

necessary for the issuance and execution of a warrant, until the defendant is in custody in the

above-captioned case. As grounds for this motion, the government states that public disclosure of

these materials might jeopardize the ongoing investigation of this case, as well as the

government’s ability to arrest the defendant.

          The United States further moves pursuant to General Order 06-05 that the United States

be provided copies of all sealed documents that the United States has filed in the above-styled

matter.

 Motion allowed by the court.
 Thomas F. Quinn
 Deputy Clerk 6/23/22                                 Respectfully submitted
                                                      RACHAEL S. ROLLINS,
                                                      UNITED STATES ATTORNEY

Date: June 23, 2022                             By:   /s/ Kristina E. Barclay
                                                      Kristina E. Barclay
                                                      Assistant U.S. Attorney
